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 8                       UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,
                                                   NO. CR. S-94-328 LKK
12              Plaintiff,

13        v.                                             O R D E R

14   JAMES H. SANDERS,

15              Defendant.
                                              /
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17        As to the motion of Robert M. Wright, it is DENIED. The court

18   finds that Robert M. Wright’s motion is vexatious and no further

19   response by this court as to any filings will be made unless Wright

20   has first obtained permission of the court to file same.

21        IT IS SO ORDERED.

22        DATED: July 6, 2010.

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